Case 23-34815 Document 467-15 Filed in TXSB on 06/11/24 Page 1 of 3




                           EXHIBIT M
                   Case 23-34815 Document 467-15 Filed in TXSB on 06/11/24 Page 2 of 3
RE: Deposition

From: R. J. Shannon <rshannon@shannonleellp.com>                    Mon, Jun 10, 2024 at 1:32 PM CDT (GMT-05:00)
To: Mark Smith <msmith@bn-lawyers.com>
Cc: Steve Sather <ssather@bn-lawyers.com>; David Stern <dstern@bn-lawyers.com>; Jetall Legal
<legal@jetallcompanies.com>; Jeff Steidley <jeff@texlaw.us>

Mark,

The Trustee has panels tomorrow and Wednesday, and hearings on Thursday and Friday. He moved his schedule
around last week and you cancelled it last minute. I think you are going to need to just ask him on the stand. It seems
only tangentially relevant to any of the requirements of section 1129 anyway.

As far as the other things:

        Revenues/Expenses—Attached are (a) the copies of the monthly operating reports and (b) a summary of
        revenue received. I can try to get the Trustee to finish the May 2024 MOR early but it’s not due until 6/20.

        Claims—You guys have the same insight to the claims as we do through the Debtor’s schedules and the claims
        register.

        Administrative Expenses—I can ask the Trustee to have an estimate ready by the hearing, but these things are
        determined by a process.

        Cash—I can get you this number, but I assume you want it as of the hearing.

Thanks,
R. J.

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R. J. Shannon
Partner
Shannon & Lee LLP
Cell: (512) 693-9294
rshannon@shannonleellp.com

From: Mark Smith <msmith@bn-lawyers.com>
Sent: Monday, June 10, 2024 11:44 AM
To: R. J. Shannon <rshannon@shannonleellp.com>
Cc: Steve Sather <ssather@bn-lawyers.com>; David Stern <dstern@bn-lawyers.com>; Jetall
Legal <legal@jetallcompanies.com>; Jeff Steidley <jeff@texlaw.us>
Subject: Deposition

R.J.,

Given the Court’s ruling on the motion for continuance, please provide dates this week for the trustee’s deposition.
Also, can you provide an accounting for the revenues/expenses for the estate since the trustee has taken over. Also,
how much does the estate hold now and what is current administrative costs and do you have a schedule of creditors.
Thank you.

Mark



 Mark E. Smith
 Barron & Newburger, PC
5555 West LoopCase
               South,23-34815
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Houston, TX 77401
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msmith@bn-lawyers.com




Attachments

  Rents Received Report.pdf
  txsb-4_2023-bk-34815-00131.pdf
  txsb-4_2023-bk-34815-00132.pdf
  txsb-4_2023-bk-34815-00220.pdf
  txsb-4_2023-bk-34815-00354.pdf
